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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF DELAWARE

  AMERITAS LIFE INSURANCE CORP.,

                       Plaintiff,

             v.

  WILMINGTON SAVINGS FUND
  SOCIETY, FSB, SOLELY AS SECURITIES
  INTERMEDIARY,

                       Defendant,                   C.A. No. 23-236-GBW

  WILMINGTON SAVINGS FUND
  SOCIETY, FSB, SOLELY AS SECURITIES
  INTERMEDIARY,

                       Counterclaimant,

             v.

  AMERITAS LIFE INSURANCE CORP.,

                       Counterclaim Defendant.


                    JOINT STIPULATION FOR EXTENSION OF DEADLINES

        Pursuant to Local Rule 16.4, Ameritas Life Insurance Corp. (“Ameritas”) and Wilmington

 Savings Fund Society, FSB, Solely as Securities Intermediary (“Securities Intermediary,” and

 collectively with Ameritas, the “Parties”) hereby jointly stipulate to an extension of the deadlines

 in the Joint Scheduling Order (ECF 17) and respectfully request that the Court order as follows:

        1.        The Parties seek a three-month extension of the deadlines in the Joint Scheduling

 Order (ECF 17), not including the deadline to substantially complete document productions.

        2.        The Court entered the Joint Scheduling Order in this case on July 13, 2023.

 ECF 17.     In the Joint Scheduling Order, substantial completion of the Parties’ document
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 productions was scheduled to occur on or by November 17, 2023, while fact discovery was slated

 to close on February 9, 2024.

        3.         Recognizing that additional time was needed to substantially complete their

 document productions, the Parties filed a Joint Stipulation for Extension of Deadline to

 Substantially Complete Document Productions on November 10, 2023. ECF 40.

        4.         In that filing, Securities Intermediary specifically noted that additional extensions,

 including of the fact discovery deadline, would likely be needed, and the Parties indicated that they

 would seek additional extensions of other deadlines if necessary.

        5.         The Court granted the Joint Stipulation on November 15, 2023, setting the deadline

 for substantial completion of the Parties’ document productions for January 5, 2024. The other

 case deadlines remained unchanged, including the February 9, 2024 deadline for completion of

 fact discovery.

        6.         In accordance with the Court’s schedule, the Parties substantially completed their

 document productions on or by January 5, 2024. However, while the Parties have already taken

 significant discovery, additional time is needed to resolve disputes over the Parties’ document

 productions and to ensure that there is time for all fact witness depositions to take place prior to

 the end of fact discovery.

        7.         The Parties have also issued several subpoenas duces tecum to third parties. The

 Parties are still in the process of negotiating those third parties’ responses and are awaiting several

 productions of documents. E.g., ECF 24; ECF 28; ECF 32-35; ECF 37; ECF 39; ECF 41-48.

        8.         For these reasons, the Parties are not in a position to complete fact discovery by

 February 9, 2024.




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        9.      The Parties believe that extending the deadline for completion of fact discovery by

 three months (i.e., to May 10, 2024) will allow the Parties sufficient time to resolve their disputes

 over their document productions, complete fact witness depositions, and complete negotiations

 with third parties relating to their document productions.

        10.     To align the other deadlines in the Joint Scheduling Order with any such an

 extension, the Parties seek a three-month extension of the other deadlines as well.

        11.     Good cause exists for granting the requested extension because it will allow the

 Parties to complete fact discovery in an orderly fashion. The Parties have not unreasonably

 delayed in seeking discovery or this extension, as demonstrated by the discovery that the Parties

 have already undertaken.

        11.     The extension requested herein is not being sought for purposes of delay or any

 other improper purpose, and no party will be prejudiced by the requested extension.

        NOW THEREFORE, it is hereby stipulated and agreed by the Parties hereto, subject to

 Court approval, that the deadlines provided in the Court’s Joint Scheduling Order (ECF 17), except

 for the substantial completion of document productions, shall be extended by three months as

 follows:

              Event                      Current Deadline                 Proposed Deadline

     Close of fact discovery              February 9, 2024                   May 10, 2024

    Affirmative expert reports             March 9, 2024                      June 7, 2024

     Rebuttal expert reports                April 5, 2024                     July 3, 2024

       Reply expert reports                April 19, 2024                     July 19, 2024

     Expert discovery cutoff                May 17, 2024                    August 16, 2024

     Dispositive motions due                June 14, 2024                 September 13, 2024




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    Oppositions to dispositive            July 12, 2024               October 11, 2024
          motions due

  Replies in further support of           July 26, 2024               October 25, 2024
    dispositive motions due

   Deadline motions in limine          September 27, 2024            December 27, 2024
   and Daubert motions due

       Pretrial conference               January 8, 2025               April 10, 2025

        Jury Trial begins               January 13, 2025               April 14, 2025



 AGREED TO BY AND BETWEEN:

  COZEN O’CONNOR P.C.                           K&L GATES LLP

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 SO ORDERED this ___ day of January 2024.



                                                ________________________________
                                                The Honorable Gregory B. Williams
                                                United States District Judge




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